  UNITED
Case      STATES BANKRUPTCY
     23-13359-VFP   Doc 1481COURT
                              Filed 07/24/23 Entered 07/24/23 15:57:55                                 Desc Main
  DISTRICT OF NEW JERSEY    Document Page 1 of 13
  Caption in Compliance with D.N.J. LBR
  9004-1(b)
  KIRKLAND & ELLIS LLP
  KIRKLAND & ELLIS INTERNATIONAL LLP
  Joshua A. Sussberg, P.C. (admitted pro hac vice)
  Emily E. Geier, P.C. (admitted pro hac vice)                               Order Filed on July 24, 2023
  Derek I. Hunter (admitted pro hac vice)                                    by Clerk
  601 Lexington Avenue                                                       U.S. Bankruptcy Court
  New York, New York 10022                                                   District of New Jersey
  Telephone: (212) 446-4800
  Facsimile: (212) 446-4900
  joshua.sussberg@kirkland.com
  emily.geier@kirkland.com
  derek.hunter@kirkland.com

  COLE SCHOTZ P.C.
  Michael D. Sirota, Esq.
  Warren A. Usatine, Esq.
  Felice R. Yudkin, Esq.
  Court Plaza North, 25 Main Street
  Hackensack, New Jersey 07601
  Telephone: (201) 489-3000
  msirota@coleschotz.com
  wusatine@coleschotz.com
  fyudkin@coleschotz.com
  Co-Counsel for Debtors and Debtors in Possession
                                                                   Chapter 11
  In re:
                                                                   Case No. 23-13359
  BED BATH & BEYOND INC., et
                                                                   (VFP)(Jointly
  al.,     Debtors.1
                                                                   Administered)

         ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE ASSUMPTION AND
                     ASSIGNMENT AGREEMENT WITH FLEXPORT, INC.

                          The relief set forth on the following pages, numbered two (2) through eight (8), is

 ORDERED.


  DATED: July 24, 2023




          1
                   The last four digits of Debtor Bed Bath & Beyond Inc.'s tax identification number are 0488. A
 complete list of the Debtors in these Chapter 11 Cases and each such Debtor's tax identification number may be
 obtained on the website of the Debtors' claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The
 location of Debtor Bed Bath & Beyond Inc.'s principal place of business and the Debtors' service address in these
 Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey 07083.
Case 23-13359-VFP           Doc 1481       Filed 07/24/23 Entered 07/24/23 15:57:55                    Desc Main
                                         Document Page 2 of 13
 (Page | 2)
 Debtors:                  BED BATH & BEYOND INC., et al.
 Case No.                  23-13359-VFP
 Caption of Order:         ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
                           ASSUMPTION AND ASSIGNMENT AGREEMENT WITH
                           FLEXPORT, INC.


         Upon the Debtors' Motion for Entry of an Order Establishing Procedures to Sell Certain

 Leases, (II) Approving the Sale of Certain Leases, and (III) Granting Related Relief

 (the "Motion"),2 of the above-captioned debtors and debtors in possession (collectively,

 the "Debtors"), authorizing and approving, among other things, (a) the Lease Sale Procedures,

 and (b) the Debtors' right to consummate Lease Sales, including through Assumption and

 Assignment Agreements between the Debtors and the prospective assignee, all as more fully set

 forth in the Motion, and entry of the Order (I) Establishing Procedures To Sell Certain Leases,

 (II) Approving the Sale of Certain Leases, and (III) Granting Related Relief (Docket No. 422);

 and upon the First Day Declaration; and the Court having jurisdiction to consider the Motion and

 the relief requested therein pursuant to 28 U.S.C. §§ 157 and 1334 and the Standing Order

 of Reference to the Bankruptcy Court Under Title 11 of the United States District Court for the

 District of New Jersey, entered July 23, 1984, and amended on September 18, 2012 (Simandle,

 C.J.); and this Court having found that venue of this proceeding and the Motion in this district is

 proper pursuant to 28 U.S.C. §§ 1408 and 1409; and this Court having found that the relief

 requested in the Motion is in the best interests of the Debtors' estates, their creditors, and other

 parties in interest; and this Court having found that the Debtors' notice of the Motion was

 appropriate under the circumstances and no other notice need be provided; and this Court

 having reviewed the Motion; and this Court having determined that the Debtors have



         2
                  Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the
 Motion or the Assumption and Assignment Agreement attached hereto as Exhibit 1 (the "Assumption and Assignment
 Agreement"), as applicable.
Case 23-13359-VFP       Doc 1481     Filed 07/24/23 Entered 07/24/23 15:57:55             Desc Main
                                   Document Page 3 of 13
 (Page | 3)
 Debtors:              BED BATH & BEYOND INC., et al.
 Case No.              23-13359-VFP
 Caption of Order:     ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
                       ASSUMPTION AND ASSIGNMENT AGREEMENT WITH
                       FLEXPORT, INC.

 complied with the Lease Sale Procedures, and that the Debtors' entry into the Assumption and

 Assignment Agreement is in the best interest of the Debtors and their estates and provides for the

 highest or best offer for the Lease (as defined in the Assumption and Assignment Agreement);

 and upon all of the proceedings had before the Court and after due deliberation and sufficient

 cause appearing therefor, IT IS HEREBY ORDERED THAT:

        1.      The Debtors and Assignee (as defined in the Assumption and Assignment

 Agreement) are authorized to enter into and perform under the Assumption and Assignment

 Agreement, and to implement the Assumption and Assignment Agreement and the transactions

 contemplated thereunder and hereunder. The Assumption and Assignment Agreement and all of

 the terms and conditions thereof is hereby approved in all respects.

        2.      Pursuant to sections 105(a), 363(b)(1) and (f) and 365(a) of the Bankruptcy Code,

 the Debtors are hereby authorized and directed to (a) sell and assume and assign to Assignee, in

 accordance with the terms of the Assumption and Assignment Agreement, the Lease (as identified

 in the Assumption and Assignment Agreement), free and clear of any and all licenses, tenants

 and/or subtenants, license and concession agreements for all or any part of the Premises, and all

 liens, claims and encumbrances, with such license and concession agreements for all or any part

 of the Premises, and all liens, claims and encumbrances to attach to the proceeds received on

 account of such transfer in the same order of priority and with the same validity, force and effect

 that any creditor had prior to the transfer, subject to any claims and defenses the Debtors and the

 Debtors' estates may have with respect thereto, and (b) execute and deliver to the Assignee such
Case 23-13359-VFP        Doc 1481      Filed 07/24/23 Entered 07/24/23 15:57:55               Desc Main
                                     Document Page 4 of 13
 (Page | 4)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359-VFP
 Caption of Order:      ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
                        ASSUMPTION AND ASSIGNMENT AGREEMENT WITH
                        FLEXPORT, INC.

 documents or other instruments as the Assignee deems necessary to assign and transfer the Lease

 to Assignee.

        3.      In order to resolve the objection of Majestic Lewisville Partners, L.P., a Texas

 limited partnership and NM DFW Lewisville, LLC, a Delaware limited liability company,

 successors-in-interest to DFW Lewisville Partners GP, a Texas general partnership (collectively,

 "Landlord") and Assignee have entered into an amendment of the Lease that will become effective

 upon assignment of the Lease to Assignee (the "Lease Amendment"). Based on the Lease

 Amendment, Assignee has demonstrated adequate assurance of future performance and has

 satisfied the requirements set forth in section 365(b)(1)(C) of the Bankruptcy Code with respect to

 the Lease. Assignee is a good faith purchaser of the Lease within the meaning of section 363(m)

 of the Bankruptcy Code.

        4.      Other than expressly agreed with Landlord in the Lease Amendment, there shall be

 no rent accelerations, assignment fees, increases or any other fees charged to Assignee or the

 Debtors as a result of the assumption and assignment of the Lease.

        5.      Effective as of the date of entry of this Order, the assignment of the Lease by the

 Debtors to Assignee shall constitute a legal, valid, and effective transfer of such Lease

 notwithstanding any requirement for approval or consent by any person and vests Assignee with

 all right, title, and interest of the Debtors in and to such Lease, free and clear of all liens, claims,

 and encumbrances pursuant to sections 363(f) and 365 of the Bankruptcy Code.

        6.      Any provisions in the Lease that prohibit or condition the assignment of such Lease

 or allow the Landlord to terminate, declare a breach or default, recapture, impose any penalty,
Case 23-13359-VFP         Doc 1481     Filed 07/24/23 Entered 07/24/23 15:57:55                Desc Main
                                     Document Page 5 of 13
 (Page | 5)
 Debtors:                BED BATH & BEYOND INC., et al.
 Case No.                23-13359-VFP
 Caption of Order:       ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
                         ASSUMPTION AND ASSIGNMENT AGREEMENT WITH
                         FLEXPORT, INC.

 condition any renewal or extension, or modify any term or condition, as a result of the assignment

 of such Lease constitute unenforceable anti-assignment provisions under the Bankruptcy Code and

 are void and of no force and effect as against the Debtors solely in connection with the assumption

 and assignment of the Lease to the Assignee, and all such provisions shall be binding on Assignee

 (as tenant under the Lease) after assignment. The Lease shall remain in full force and effect,

 without existing defaults, subject only to payment by of the appropriate Cure Costs, if any.

         7.      Upon payment of the applicable Cure Costs, the Landlord is hereby barred and

 permanently enjoined from asserting against the Debtors and Assignee any default, claim, or

 liability existing, accrued, arising, or relating to the Leases for the period prior to the entry of this

 Order; provided, however, that liabilities not yet incurred or paid by the Landlord but accruing and

 payable under the Lease (e.g., taxes, common area maintenance) may be charged to Assignee

 pursuant to the Lease in the manner they traditionally have been. The Cure Costs are hereby fixed

 at the amount of $80,000.00; provided, however, that a Landlord shall not be barred from seeking

 additional amounts on account of any defaults occurring between the deadline to object to Cure

 Costs set forth in the Assumption and Assignment Notice and the Assumption Date.

         8.      Assignee shall be deemed to be substituted for the Debtors as a party to the Lease

 and the Debtors shall be relieved, pursuant to section 365(k) of the Bankruptcy Code, from any

 further liability under the Lease from and after the Assumption Date.

         9.      The terms and conditions of this Order shall be immediately effective and

 enforceable upon entry of this Order. The provisions of this Order authorizing the assignment of

 the Leases shall be self-executing, and neither the Debtors nor Assignee shall be required to
Case 23-13359-VFP        Doc 1481     Filed 07/24/23 Entered 07/24/23 15:57:55              Desc Main
                                    Document Page 6 of 13
 (Page | 6)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359-VFP
 Caption of Order:      ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
                        ASSUMPTION AND ASSIGNMENT AGREEMENT WITH
                        FLEXPORT, INC.

 execute or file assignments, consents or other instruments in order to effectuate, consummate,

 and/or implement provisions of this Order. Each and every federal, state, and local governmental

 agency or department is hereby authorized to accept any and all documents and instruments

 necessary and appropriate to effect, consummate, and/or implement the transactions contemplated

 by this Order. A certified copy of this Order may be filed with the appropriate clerk and/or recorded

 with the recorder to act to effectuate, consummate, and/or implement to the extent necessary the

 provisions of this Order.

        10.     Notwithstanding any term of the Lease to the contrary, any extension, renewal

 option, or other rights contained in such Lease that purports to be personal only to a Debtor or

 Debtors or to a named entity in such Lease or to be exercisable only by a Debtor or Debtors or by

 a named entity or an entity operating under a specific trade name may be freely exercised to their

 full extent by the Assignee, in accordance with the terms of such Lease and the Lease Amendment.

 The Debtors have timely exercised any applicable extension or renewal options under the Lease,

 and the Lease is in all in full force and effect. The Debtors have not previously rejected the Lease

 and the Debtors' period to assume or reject the Lease has not otherwise expired.

        11.     With respect to any provision of the Lease providing for calculation of rent based

 on a percentage of annual sales, for the annual period in which the Closing Date occurs, Assignee

 shall only be responsible for the prorated portion of percentage rent attributable to the period after

 the Closing Date calculated on a per diem basis.

        12.     Notwithstanding any provision of the Lease (including any related reciprocal

 easement agreement or declaration of covenants and restrictions or other land use agreement (each,
Case 23-13359-VFP          Doc 1481     Filed 07/24/23 Entered 07/24/23 15:57:55           Desc Main
                                      Document Page 7 of 13
 (Page | 7)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359-VFP
 Caption of Order:      ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
                        ASSUMPTION AND ASSIGNMENT AGREEMENT WITH
                        FLEXPORT, INC.

 an "REA") or any ground or master lease (each, a "Master Lease")) to the contrary, including a

 covenant of continuous operation or a "go dark" provision, Assignee shall not be required to

 operate its business from the leased premises for a reasonable period of time after the entry of this

 Order, in order to perform alterations and remodeling which shall be done in a manner consistent

 with the terms of the Lease and to replace and modify existing signage to the extent necessary to

 operate at the premises under as a Assignee store and consistent with its business operations and

 the terms of the Lease.

        13.     The Landlord shall cooperate in good faith and use commercially reasonable efforts

 to execute and deliver, upon the request of Assignee, any instruments, applications, consents, or

 other documents that may be required by any public or quasi-public authority or other party or

 entity, for the purpose of obtaining any permits, approvals, or other necessary documents required

 for alteration, installation of signage, opening, and operating the Premises; provided that the

 Landlord does not incur any out of the ordinary material out-of-pocket costs as a result of such

 cooperation.

        14.     Notwithstanding anything to the contrary in this Order or the Assumption and

 Assignment Agreement, none of the Debtors' insurance policies (and/or any agreements related

 thereto between any of the Debtors, on the one hand, and the applicable insurer(s) and/or third-

 party administrators, on the other hand) shall be abandoned, sold, assigned, or otherwise

 transferred pursuant this Order.

        15.     The Debtors are authorized to take all actions necessary to effectuate the relief

 granted pursuant to this Order in accordance with the Motion.
Case 23-13359-VFP        Doc 1481     Filed 07/24/23 Entered 07/24/23 15:57:55             Desc Main
                                    Document Page 8 of 13
 (Page | 8)
 Debtors:               BED BATH & BEYOND INC., et al.
 Case No.               23-13359-VFP
 Caption of Order:      ORDER PURSUANT TO SECTIONS 365 AND 363 APPROVING THE
                        ASSUMPTION AND ASSIGNMENT AGREEMENT WITH
                        FLEXPORT, INC.

        16.     The Debtors and Assignee are authorized to take any and all actions reasonably

 necessary or appropriate to consummate the Assumption and Assignment Agreement and the

 transactions contemplated thereunder and hereunder.

        17.     In the event of any inconsistencies between this Order, the Motion, and the

 Assumption and Assignment Agreement, this Order shall govern.

        18.     Notwithstanding Bankruptcy Rules 6004(h) or 6006(d), or any other Bankruptcy

 Rule or Local Rule, to the extent applicable, this Order shall be effective and enforceable

 immediately upon entry hereof.

        19.     Notice of the Motion as provided therein shall be deemed good and sufficient

 notice of such Motion and the requirements of Bankruptcy Rule 6004(a) and the Local Rules are

 satisfied by such notice.

        20.     The requirement set forth in Local Rule 9013-1(a)(3) that any motion be

 accompanied by a memorandum of law is hereby deemed satisfied by the contents of the Motion

 or otherwise waived.

        21.     This Court retains exclusive jurisdiction with respect to all matters arising from or

 related to the implementation, interpretation, and enforcement of this Order.
Case 23-13359-VFP         Doc 1481      Filed 07/24/23 Entered 07/24/23 15:57:55   Desc Main
                                      Document Page 9 of 13



                                                 Exhibit 1

                                Assumption and Assignment Agreement




 65548/0001-45616276v1
          4869-4873-6625v.5 42323-44 7/18/2023
Case 23-13359-VFP          Doc 1481 Filed 07/24/23 Entered 07/24/23 15:57:55                       Desc Main
                                   Document Page 10 of 13


                          ASSUMPTION AND ASSIGNMENT AGREEMENT

         This ASSIGNMENT AND ASSUMPTION AGREEMENT (the “Agreement”), dated as of
 _______, 2023 (the “Effective Date”), is by and between BBBYTF, LLC, a Delaware limited liability
 company (“Assignor”), and FLEXPORT, INC., a Delaware corporation (“Assignee”). For the avoidance
 of doubt, all provisions of the applicable assigned contract, including any provision limiting future
 assignment, shall be binding on the applicable Assignee after consummation of the assignment of such
 contract by the Debtors to the Assignee.

                                                RECITALS

          WHEREAS, Assignor, along with its affiliated debtors and debtors in possession, has filed a
 voluntary petition for relief pursuant to chapter 11 of Title 11 of the United States Code, 11 U.S.C. §§ 101
 et seq. (as amended, the “Bankruptcy Code”), in the United States Bankruptcy Court for the District of New
 Jersey (the “Court”), jointly administered under case In re Bed Bath & Beyond, Inc., Case No. 23-13359
 (VFP) (Bankr. D.N.J. 2023) (the “Chapter 11 Cases”); and

          WHEREAS, Assignor has agreed to assign and Assignee has agreed to assume the unexpired
 lease(s) listed on Schedule A attached hereto (the “Assigned Asset(s)” or the “Lease(s)”) with respect to
 the premises set forth on Schedule A (the “Premises”), pursuant to the terms and conditions of the Lease
 Sale Procedures for the Sale of Certain Lease Assets (the “Lease Sale Procedures”) subject to approval by
 the Court in the Chapter 11 Cases.

         NOW, THEREFORE, in consideration of the premises and the mutual agreements herein
 contained, the parties hereto agree as follows:

                                               AGREEMENT

          1.       Assignment and Assumption.

                 (a)      Assignor hereby sells, transfers, conveys, assigns and sets over to Assignee, its
 successors and assigns, all of Assignor’s right, title, and interest in and to the Assigned Asset(s).

                  (b)     Assignee hereby accepts such assignment, assumes and undertakes to pay,
 perform, and discharge all of Assignor’s obligations and duties with respect to the Assigned Asset(s) from
 and after the Effective Date.

          2.      Payment of Purchase Price. Assignee shall, on the Effective Date, deliver the purchase
 price for the Assigned Asset(s) in the amount of Five Hundred Thousand and No/100 Dollars ($500,000.00)
 (the “Purchase Price”) in immediately available funds wired to the account specified by Assignor, net of
 the 10% deposit already submitted.

          3.      Assumption of Liabilities. In addition to assuming all remaining obligations that exist with
 respect to the Assigned Asset(s), including, but not limited to, accrued but unbilled adjustments for common
 area maintenance, real estate taxes, and insurance, as of the Effective Date, Assignee shall assume and cure
 all outstanding liabilities with respect to the Assigned Asset(s).

         4.       No Further Liability of Assignor. From and after the Effective Date, Assignor shall have
 no further obligations and duties with respect to the Assigned Asset(s).




 65548/0002-45618813v2
Case 23-13359-VFP          Doc 1481 Filed 07/24/23 Entered 07/24/23 15:57:55                       Desc Main
                                   Document Page 11 of 13


         5.      Further Assurances. At any time and from time to time after the Effective Date, at the
 request of Assignee, and without further consideration, Assignor shall execute and deliver such other
 instruments of sale, transfer, conveyance, assignment, and confirmation or consents and take such other
 action as Assignee may reasonably request as necessary or desirable in order to more effectively transfer,
 convey, and assign to Assignee Assignor’s rights to the Assigned Asset(s).

          6.       “As Is Where Is” Transaction. Assignee hereby acknowledges and agrees that Assignor
 makes no representations or warranties whatsoever, express or implied, with respect to any matter relating
 to the Assigned Asset(s). Without limiting the foregoing, Assignor hereby disclaims any warranty (express
 or implied) of merchantability or fitness for any particular purpose as to any portion of the Assigned
 Asset(s). Assignee further acknowledges that the Assignee has conducted an independent inspection and
 investigation of the physical condition of the Assigned Asset(s) and all such other matters relating to or
 affecting the Assigned Asset(s) as Assignee deemed necessary or appropriate and that in proceeding with
 its acquisition of the Assigned Asset(s), Assignee is doing so based upon such independent inspections and
 investigations. Accordingly, Assignee will accept the Assigned Asset(s) “AS IS” and “WHERE IS.”

         7.     Compliance With Law. Assignee hereby agrees to comply with all applicable laws to the
 extent of Assignee’s obligations as Tenant under the Lease. Assignee agrees to indemnify and hold
 Assignor harmless for any violation or alleged violation of this section.

         8.       Governing Law. This Agreement shall be governed by and construed in accordance with
 the laws of the State where the Premises is located without regard to principles of conflicts of law.

          9.      Jurisdiction. The Parties consent to the exclusive jurisdiction of the United States
 Bankruptcy Court for the District of New Jersey with respect to all matters arising under or relating to this
 Agreement. The Parties hereby irrevocably waive any objection on the grounds of venue, forum non
 conveniens, or any similar grounds and irrevocably consent to service of process by mail or in any other
 manner permitted by applicable law. The Parties further hereby waive any right to a trial by jury with
 respect to any lawsuit or judicial proceeding arising or relating to this Agreement.

         10.       No Reliance. Each Party represents and warrants that in entering into this Agreement it is
 relying on its own judgment, belief and knowledge and, as applicable, on that of any attorney it has retained
 to represent it in this matter. In entering into this Agreement, no Party is relying on any representation or
 statement made by any other Party or any person representing such other Party.

          11.     Construction. This Agreement has been drafted through a cooperative effort of both
 Parties, and neither Party shall be considered the drafter of this Agreement so as to give rise to any
 presumption of convention regarding construction of this document. All terms of this Agreement were
 negotiated in good faith and at arm’s-length, and this Agreement was prepared and executed without fraud,
 duress, undue influence, or coercion of any kind exerted by any of the Parties upon the other. The execution
 and delivery of this Agreement is the free and voluntary act of the Parties.

         12.     Execution in Counterparts. This Agreement may be executed in one or more counterparts,
 each of which shall be deemed an original, but all of which together shall constitute one and the same
 instrument. All signatures of the Parties to this Agreement may be transmitted by facsimile or by electronic
 mail, and such transmission will, for all purposes, be deemed to be the original signature of such Party
 whose signature it reproduces, and will be binding upon such Party.




 65548/0002-45618813v2
Case 23-13359-VFP        Doc 1481 Filed 07/24/23 Entered 07/24/23 15:57:55             Desc Main
                                 Document Page 12 of 13


          IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the Effective
 Date.



                                                   ASSIGNOR:
                                                   BBBYTF, LLC, a Delaware limited liability
                                                   company

                                                   By
                                                   Name
                                                   Its


                                                   ASSIGNEE:
                                                   FLEXPORT, INC.,
                                                   a Delaware corporation

                                                   By
                                                   Bill Hansen
                                                   Its VP, Real Estate




 65548/0002-45618813v2
Case 23-13359-VFP        Doc 1481 Filed 07/24/23 Entered 07/24/23 15:57:55                  Desc Main
                                 Document Page 13 of 13


                                                  Schedule A

                                         Description of Lease Asset(s)

     1. Industrial Lease by and between DFS LEWISVILLE PARTNERS GP, a Texas general partnership,
        as Landlord and BED BATH & BEYOND INC., a New York corporation, as Tenant, for the
        property located at 2900 S. Valley Parkway, Lewisville, Texas 75067, dated January 4, 2016, as
        assigned to Assignor by that certain Assignment and Assumption Agreement dated January 4, 2016.




 65548/0002-45618813v2
